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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 28th day of October, 2022, I filed the foregoing

with the Court’s Electronic Case Filing system, causing a copy to be served via

electronic mail on Appellees’ counsel of record.

Date: October 28, 2022

                                          Respectfully submitted,


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